8:14-cr-00206-RFR-MDN          Doc # 109     Filed: 01/22/15    Page 1 of 1 - Page ID # 254




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                8:14CR206
                                               )
       vs.                                     )
                                               )
LAVONTE L. PRINCE,                             )                  ORDER
                                               )
                      Defendant.               )


       This matter is before the court on the Motion to Continue Trial [108]. Counsel needs
additional time to prepare for trial and to explore plea negotiations. The defendant shall
comply with NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the motion to continue trial [108] is granted, as follows:

       1.    The jury trial now set for January 27, 2015 is continued to March 3, 2015.

       2.    Defendant shall file a waiver of speedy trial as soon as practical.

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and March 3, 2015, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act.
Failure to grant a continuance would deny counsel the reasonable time necessary for
effective preparation, taking into account the exercise of due diligence. 18 U.S.C. §
3161(h)(7)(A) & (B)(iv).

       DATED January 22, 2015.

                                           BY THE COURT:

                                           s/ F.A. Gossett, III
                                           United States Magistrate Judge
